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               EXHIBIT A
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 5, 2024


     Certified Document Number:        112361423 Total Pages: 15




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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